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    Attorney or Party Name, Address, Telephone & FAX                                                   FOR COURT USE ONLY
    Nos., State Bar No. & Email Address
    RICHARD W. ESTERKIN (070769)
    MORGAN, LEWIS & BOCKIUS LLP
    300 South Grand Avenue, Suite 2200
    Los Angeles, CA 90071
    Telephone: 213.612.2500
    FAX: 213.612.2501
    E-mail: richard.esterkin@morganlewis.com




        Individual appearing without attorney
        Attorney for: Movants

                                                UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

    In re:                                                                                             CASE NO.: 2:19-bk-14989-WB [Jointly administered with 2:19-bk-
                                                                                                                                                            14991-WB and 2:19-bk-17997-WB]
                                    1                                                                  CHAPTER: 11
    SCOOBEEZ, ET AL.
                                                                                                              NOTICE OF MOTION AND MOTION FOR
                                                                                                              RELIEF FROM THE AUTOMATIC STAY
    Affects:
                                                                                                                      UNDER 11 U.S.C. § 362
    ! All Debtors
                                                                                                                  (with supporting declarations)
    " Scoobeez, ONLY
    " Scoobeez Global, Inc., ONLY                                                                            (ACTION IN NONBANKRUPTCY FORUM)
    " Scoobur LLC, ONLY
                                                                                                       DATE:
                                                                                                       TIME:
                                                                                                       COURTROOM: 1375
                                                                                  Debtor(s).

    Movant: Amazon Logistics, Inc., and Amazon.com, Inc.


1. Hearing Location:
      255 East Temple Street, Los Angeles, CA 90012                                                                    411 West Fourth Street, Santa Ana, CA 92701
      21041 Burbank Boulevard, Woodland Hills, CA 91367                                                                1415 State Street, Santa Barbara, CA 93101
      3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.

1 The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc.
(9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, in Glendale, California 91214.
               This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 01/28/2020                                                              MORGAN, LEWIS & BOCKIUS LLP
                                                                                   Printed name of law firm (if applicable)

                                                                                   Richard W. Esterkin
                                                                                   Printed name of individual Movant or attorney for Movant



                                                                                   /s/ Richard W. Esterkin
                                                                                   _____________________________________________
                                                                                   Signature of individual Movant or attorney for Movant




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    MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO NONBANKRUPTCY ACTION


1. In the Nonbankruptcy Action, Movant is:
    a.         Plaintiff
    b.         Defendant
    c.         Other (specify):

2. The Nonbankruptcy Action: There is a pending lawsuit or administrative proceeding (Nonbankruptcy Action)
   involving the Debtor or the Debtor’s bankruptcy estate:

    a. Name of Nonbankruptcy Action: See attachment at paragraph 2(a)
    b. Docket number: 37-2017-00018285-CU-OE-CTRL
    c. Nonbankruptcy forum where Nonbankruptcy Action is pending:
       Superior Court of the State of California for the County of San Diego
    d. Causes of action or claims for relief (Claims):

         See attachment at paragraph 2(d)
3. Bankruptcy Case History:

    a.         A voluntary      An involuntary petition under chapter                       7        11     12       13
               was filed on (date) 04/30/2019 .

    b.         An order to convert this case to chapter                 7      11     12        13
               was entered on (date)                .

    c.         A plan was confirmed on (date)                            .

4. Grounds for Relief from Stay: Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay to
   proceed with the Nonbankruptcy Action to final judgment in the nonbankruptcy forum for the following reasons:

    a.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate.

    b.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that Movant will retain
               the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under 11 U.S.C. § 523
               or § 727 in this bankruptcy case.

    c.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    d.         The Claims are nondischargeable in nature and can be most expeditiously resolved in the nonbankruptcy
               forum.

    e.         The Claims arise under nonbankruptcy law and can be most expeditiously resolved in the nonbankruptcy
               forum.




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     f.        The bankruptcy case was filed in bad faith.

               (1)       Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                         commencement documents.
               (2)       The timing of the filing of the bankruptcy petition indicates that it was intended to delay or interfere
                         with the Nonbankruptcy Action.
               (3)       Multiple bankruptcy cases affect the Nonbankruptcy Action.

               (4)       The Debtor filed only a few case commencement documents. No schedules or statement of financial
                         affairs (or chapter 13 plan, if appropriate) has been filed.

     g.        Other (specify):
               See attachment at paragraph 4(g).


5. Grounds for Annulment of Stay. Movant took postpetition actions against the Debtor.

     a.        The actions were taken before Movant knew that the bankruptcy case had been filed, and Movant would have
               been entitled to relief from stay to proceed with these actions.

     b.        Although Movant knew the bankruptcy case was filed, Movant previously obtained relief from stay to proceed
               in the Nonbankruptcy Action in prior bankruptcy cases affecting the Nonbankruptcy Action as set forth in
               Exhibit.     .

     c.        Other (specify):



6. Evidence in Support of Motion: (Important Note: declaration(s) in support of the Motion MUST be signed
   under penalty of perjury and attached to this motion.)

     a.        The DECLARATION RE ACTION IN NONBANKRUPTCY FORUM on page 6.

     b.        Supplemental declaration(s).

     c.        The statements made by Debtor under penalty of perjury concerning Movant’s claims as set forth in Debtor’s
               case commencement documents. Authenticated copies of the relevant portions of the Debtor’s case
               commencement documents are attached as Exhibit.         .

     d.        Other evidence (specify):



7.        An optional Memorandum of Points and Authorities is attached to this Motion.

Movant requests the following relief:

1. Relief from the stay pursuant to 11 U.S.C. § 362(d)(1).

2.        Movant may proceed under applicable nonbankruptcy law to enforce its remedies to proceed to final judgment in
          the nonbankruptcy forum, provided that the stay remains in effect with respect to enforcement of any judgment
          against the Debtor or property of the Debtor’s bankruptcy estate.

3.        The stay is annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant in the
          Nonbankruptcy Action shall not constitute a violation of the stay.




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4.      The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified, or annulled as to the co-debtor,
        on the same terms and condition as to the Debtor.

5.      The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

6.      The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
        days, so that no further automatic stay shall arise in that case as to the Nonbankruptcy Action.

7.      The order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without further
        notice

8.      Other relief requested.



Date: 01/28/2020                                                         MORGAN, LEWIS & BOCKIUS LLP
                                                                        Printed name of law firm (if applicable)

                                                                         RIchard W. Esterkin
                                                                        Printed name of individual Movant or attorney for Movant



                                                                         /s/ Richard W. Esterkin
                                                                        ___________________________________________________
                                                                        Signature of individual Movant or attorney for Movant




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                             DECLARATION RE ACTION IN NONBANKRUPTCY FORUM
                             Tuyet T. Nguyen
I, (name of Declarant)                                                                                                    , declare as follows:

1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
   competently testify thereto. I am over 18 years of age. I have knowledge regarding (Nonbankruptcy Action) because:

         I am the Movant.
         I am Movant’s attorney of record in the Nonbankruptcy Action.
         I am employed by Movant as (title and capacity):
         Other (specify):

2. I am one of the custodians of the books, records and files of Movant as to those books, records and files that pertain
   to the Nonbankruptcy Action. I have personally worked on books, records and files, and as to the following facts,
   I know them to be true of my own knowledge or I have gained knowledge of them from the business records of
   Movant on behalf of Movant, which were made at or about the time of the events recorded, and which are maintained
   in the ordinary course of Movant’s business at or near the time of the acts, conditions or events to which they relate.
   Any such document was prepared in the ordinary course of business of Movant by a person who had personal
   knowledge of the event being recorded and had or has a business duty to record accurately such event. The
   business records are available for inspection and copies can be submitted to the court if required.

3. In the Nonbankruptcy Action, Movant is:

         Plaintiff
         Defendant
         Other (specify):

4. The Nonbankruptcy Action is pending as:

    a. Name of Nonbankruptcy Action: See attachment to motion at paragraph 2(a)
    b. Docket number: 37-2017-00018285-CU-OE-CTRL
    c. Nonbankruptcy court or agency where Nonbankruptcy Action is pending:
       Superior Court of the State of California for the County of San Diego

5. Procedural Status of Nonbankruptcy Action:

    a. The Claims are:

            See attachment to motion at paragraph 2(d).




    b. True and correct copies of the documents filed in the Nonbankruptcy Action are attached as Exhibit 1                                      .

    c.   The Nonbankruptcy Action was filed on (date) 05/19/2017 .

    d. Trial or hearing began/is scheduled to begin on (date)                                   .

    e. The trial or hearing is estimated to require                      days (specify).

    f.   Other plaintiffs in the Nonbankruptcy Action are (specify):

         See attachment at paragraph 5(f).



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    g. Other defendants in the Nonbankruptcy Action are (specify):

            See attachment at paragraph 5(g).

". Grounds for relief from stay:

    a.         Movant seeks recovery primarily from third parties and agrees that the stay will remain in effect as to
               enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate, except that
               Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary complaint under
               11 U.S.C. § 523 or § 727 in this bankruptcy case.

    b.         Mandatory abstention applies under 28 U.S.C. § 1334(c)(2), and Movant agrees that the stay will remain in
               effect as to enforcement of any resulting judgment against the Debtor or the Debtor’s bankruptcy estate,
               except that Movant will retain the right to file a proof of claim under 11 U.S.C. § 501 and/or an adversary
               complaint under 11 U.S.C. § 523 or § 727 in this bankruptcy case.
    c.         Movant seeks recovery only from applicable insurance, if any, and waives any deficiency or other claim
               against the Debtor or property of the Debtor’s bankruptcy estate. The insurance carrier and policy number
               are (specify):




    d.         The Nonbankruptcy Action can be tried more expeditiously in the nonbankruptcy forum.
               (1)         It is currently set for trial on (date)                      .
               (2)         It is in advanced stages of discovery and Movant believes that it will be set for trial by
                           (date)               . The basis for this belief is (specify):



               (3)         The Nonbankruptcy Action involves non-debtor parties and a single trial in the nonbankruptcy forum
                           is the most efficient use of judicial resources.

    e.         The bankruptcy case was filed in bad faith specifically to delay or interfere with the prosecution of the
               Nonbankruptcy Action.

               (1)         Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                           commencement documents.

               (2)         The timing of the filing of the bankruptcy petition indicates it was intended to delay or interfere with
                           the Nonbankruptcy Action based upon the following facts (specify):




               (3)         Multiple bankruptcy cases affecting the Property include:

                     (A) Case name:
                         Case number:                              Chapter:
                         Date '*+ed:                 "ate %*-$)#,(&%:                                Date dismissed:
                         Relief from stay regarding this Nonbankruptcy Action                      was    was not granted.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                        Attachments

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                        ATTACHMENT TO MOTION TO MODIFY THE STAY

          2(a)    The present action results from two separate actions that have now been

 consolidated. The earlier filed action was filed on May 19, 2017 and was entitled Vega, et al. v.

 Scoobeez, et al, Superior Court of the State of California for the County of San Diego

 Case No. 37-2017-00018285-CU-OE-CTRL. The later filed action was filed on March 5, 2018,

 and was entitled Key, et al. v. Scoobeez, et al., Superior Court of the State of California for the

 County of San Diego Case No. 37-2017-00039527-CU-OE-CTRL. A copy of the operative

 complaint in the consolidated cases is attached hereto as Exhibit 1.

          2(d)    The causes of action asserted are:

                  (a)      Meal and Rest Period Violations Pursuant to Labor Code § 26978, et seq.

                  (b)      Minimum Wage Violations Pursuant to Labor Code § 2698, et seq.

                  (c)      Overtime Violations Pursuant to Labor Code § 2698, et seq.

                  (d)      Wage Statement Violations Pursuant to Labor Code § 2698, et seq.

                  (e)      Failure to Reimburse Business Expenses Pursuant to Labor Code § 2698,

                           et seq.

                  (f)      Improper Retention of Gratuities “Tip-Pooling” Pursuant to Labor Code §

                           2698, et seq.

                  (g)      Failure to Timely Pay Wages Due During Employment Pursuant to Labor

                           Code § 2698, et seq.

                  (h)      Failure to Pay Wages Upon Separation of Employment Pursuant to Labor

                           Code § 2698, et seq.

                  (i)      Failure to Maintain Accurate Records Pursuant to Labor Code § 2698, et

                           seq.




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          4(g).   This motion seeks to modify the stay to permit Movants to participate in

 mediation proceedings that, if successful, may resolve claims that Movant has against the

 Debtor's estate. Any such settlement will remain subject to approval by this Court pursuant to

 Federal Rule of Bankruptcy Procedure 9019. Movant does not seek relief from the automatic

 stay to pursue its claims against the estate, other than in the course of mediation or informal

 settlement discussions.

          8.      An order modifying the automatic stay to permit Movants to participate in

 mediation and other settlement discussions with the Debtor that, if successful, subject to

 approval by this Court, may include a resolution of Movants’ claims against the Debtors’ estates.




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                                  ATTACHMENT TO DECLARATION

                          RE ACTION IN NONBANKRUPTCY FORUM

          5(f)    The named plaintiffs in the action are Arturo Vega and Unta Key. The action was

 filed as a class action on behalf of the named plaintiffs and others similarly situated.

          5(g)    The named defendants are:

                  (a)    Scoobeez

                  (b)    Scoobeez Global, Inc.

                  (c)    Amazon Logistics, Inc.

                  (d)    Amazon.com, Inc.

                  (e)    Avitus, Inc.

                  (f)    Scoobeez SD LLC

                  (g)    Shahan Ohanessian

          6(f)    The parties to the actions referred to in the present motion have scheduled a

 mediation in order to attempt to resolve the plaintiffs’ claims against the Debtors an Movants.

 Movants have filed proofs of claim in the Debtors’ bankruptcy case seeking indemnification

 against plaintiffs’ claims. The mediation, or ensuing settlement discussions, may include

 discussions regarding those claims. Movants are requesting an order modifying the automatic

 stay to the extent required to enable those discussions to take place. Any resolution of Movants’

 claims will be subject to approval by this Court pursuant to Federal Rule of Bankruptcy

 Procedure 9019.




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Morgan Lewis & Bockius, LLP, 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (ACTION IN NONBANKRUPTCY
FORUM) will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 01/28/2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See Service List, Attached.



                                                                                         ~    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/28/2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Conway MacKenzie, Inc.                 Daimler Trust                              Levene Neale Bender Yoo & Brill LLP
333 SHope St Ste 3625                  c/o BK Servicing LLC                       10250 Constellation Blvd Ste 1700
Los Angeles CA 90071 -                 PO Box 131265                              Los Angeles CA 90067
                                       RosevilieMN 55113-0011
                                                                                         D    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/28/2020 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012


                                                                                         D    Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  01/28/2020          Renee Robles                                                             ~~-
 Date                        Printed Name                                                          Signature




            This form is mandatory.   It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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2:19-bk-14989-WB Service List:

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Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
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John-Patrick M Fritz on behalf of Attorney Official Committee Of
Unsecured Creditors jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez

and Scoobeez Global, Inc.

jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

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BKClaimConfirmation@ftb.ca.gov

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David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

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